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ATTORNEYS FOR DEFENDANT
BLUE CROSS BLUE SHIELD OF WYOMING



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING

BOND PHARMACY, INC. d/b/a                          )
AIS HEALTHCARE,                                    )
                                                   )
                      Plaintiff,                   )
                                                   )
                vs.                                )   Case No. 2:23CV00053-KHR
                                                   )
BLUE CROSS BLUE SHIELD OF WYOMING,                 )
                                                   )
                                                   )
                      Defendant.                   )


        DEFENDANT’S NOTICE OF INTENT TO SERVE SUBPOENA


       Pursuant to Federal Rule of Civil Procedure 45(a)(4), Defendant Blue Cross Blue Shield

of Wyoming, by and through undersigned counsel, hereby gives notice of its intent to serve a

Subpoena to Produce Documents, Information, or Objects upon National Home Infusion

Foundation a/k/a National Home Infusion Association. A copy of this subpoena is attached hereto

as Exhibit 1.

       DATED this 21st day of March 2024.
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                                                  BLUE CROSS & BLUE SHIELD OF WYOMING,
                                                  DEFENDANT


                                                  By: /s/ Melissa K. Burke
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                              CERTIFICATE OF SERVICE

       This is to certify that on the 21st day of March, 2024, a true and correct copy of the
foregoing was served upon counsel as follows:

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                        DEFENDANT’S NOTICE OF INTENT TO SERVE SUBPOENA
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